               IN THE UNITED STATES DISTRICT COURT
                  NORTHERN DISTRICT OF FLORIDA
                       TALLAHASSEE DIVISION

LEAGUE OF WOMEN VOTERS
OF FLORIDA, INC., et al.,

            Plaintiffs,

v.                                          Case No.: 4:21cv186-MW/MAF

LAUREL M. LEE, in her official
capacity as Florida Secretary of
State, et al.,

            Defendants,

and

NATIONAL REPUBLICAN
SENATORIAL COMMITTEE and
REPUBLICAN NATIONAL
COMMITTEE,

          Intervenor-Defendants.
___________________________________/

                ORDER DENYING MOTIONS TO DISMISS

      Defendant Lee and Defendant Moody move to dismiss various counts in

Plaintiffs’ Complaint. ECF Nos. 107 and 120. After Defendants filed their motions,

Plaintiffs filed a First Amended Complaint. ECF No. 124. Accordingly, both




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motions to dismiss are DENIED as moot.

     SO ORDERED on July 19, 2021.

                                  s/Mark E. Walker
                                  Chief United States District Judge




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